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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DISTRICT

DISABLED PATRIOTS OF AMERICA, INC.,
a Florida Not-For-Profit corporation, and
EFREM WALKER, Individually,

                Plaintiffs,                         Case No.
v.

OAKLAND POINT PARTNERS, LLC, a
Michigan Limited Liability Corporation,

            Defendant.
______________________________________/


                                         COMPLAINT
                                  (Injunctive Relief Demanded)

         Plaintiffs, DISABLED PATRIOTS OF AMERICA, INC., a Florida Not-For-Profit

Corporation, and EFREM WALKER, Individually, on their behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff” or “Plaintiffs”), hereby sue

the Defendant, OAKLAND POINT PARTNERS, LLC, a Michigan Limited Liability

Corporation, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”).

1.       Plaintiff, EFREM WALKER, is an individual residing in Pontiac, MI, in the County of

         Oakland.

2.       Plaintiff, DISABLED PATRIOTS OF AMERICA, INC., is a non-profit corporation

         formed under the laws of the State of Florida. DISABLED PATRIOTS OF AMERICA,

         INC. maintains its principal office at 702 North E Street, Lake Worth, FL 33460, in the

         County of Palm Beach.
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3.       Defendant’s property, Oakland Point Shopping Center, is located at 220 N. Telegraph

         Road, Pontiac, Michigan 48341 in Oakland County.

4.       Venue is properly located in the Eastern District of Michigan because venue lies in the

         judicial district of the property situs. The Defendant’s property is located in and does

         business within this judicial district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

         jurisdiction over actions which arise from the Defendant’s violations of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

         and § 2202.

6.       Plaintiff EFREM WALKER is a Michigan resident, is sui juris, and qualifies as an

         individual with disabilities as defined by the ADA. EFREM WALKER has visited the

         property which forms the basis of this lawsuit and plans to return to the property to avail

         himself of the goods and services offered to the public at the property. The Plaintiff has

         encountered architectural barriers at the subject property. The barriers to access at the

         property have endangered his safety. The Plaintiff is also a member of the Plaintiff

         organization, DISABLED PATRIOTS OF AMERICA, INC., discussed below in

         paragraph 7.

7.       Plaintiff DISABLED PATRIOTS OF AMERICA, INC., is a non-profit Florida

         corporation. Members of this organization include individuals with disabilities as defined

         by the ADA, and are representative of a cross-section of the disabilities to be protected

         from discrimination by the ADA. The purpose of this organization is to represent the

         interest of its members by assuring places of public accommodation are accessible to and

         usable by the disabled and that its members are not discriminated against because of their

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         disabilities.   DISABLED PATRIOTS OF AMERICA, INC. and its members have

         suffered and will continue to suffer direct and indirect injury as a result of the

         Defendant’s discrimination until the Defendant is compelled to comply with the

         requirements of the ADA. One or more of its members has suffered an injury that would

         allow it to bring suit in its own right. DISABLED PATRIOTS OF AMERICA, INC. has

         also been discriminated against because of its association with its disabled members and

         their claims.

8.       Completely independent of the personal desire to have access to this place of public

         accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

         purpose of discovering, encountering, and engaging discrimination against the disabled in

         public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

         Plaintiff personally visits the public accommodation; engages all of the barriers to access,

         or at least all of those that Plaintiff is able to access; and tests all of those barriers to

         access to determine whether and the extent to which they are illegal barriers to access;

         proceeds with legal action to enjoin such discrimination; and subsequently returns to the

         premises to verify its compliance or non-compliance with the ADA and to otherwise use

         the public accommodation as members of the able-bodied community are able to do.

         Independent of other subsequent visits, Plaintiff also intends to visit the premises

         annually to verify its compliance or non-compliance with the ADA, and its maintenance

         of the accessible features of the premises. In this instance, Plaintiff, in Plaintiff’s

         individual capacity and as a “tester,” visited the Facility, encountered barriers to access at

         the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

         and will continue to suffer such harm and injury as a result of the illegal barriers to access

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         and the ADA violations set forth herein.

9.       Defendant owns, leases, leases to, or operates a place of public accommodation as

         defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

         36.104. Defendant is responsible for complying with the obligations of the ADA. The

         place of public accommodation that the Defendant owns, operates, leases or leases to is

         known as Oakland Point Shopping Center and is located at 220 N. Telegraph Road,

         Pontiac, Michigan 48341.

10.      DISABLED PATRIOTS OF AMERICA, INC. and EFREM WALKER have a realistic,

         credible, existing and continuing threat of discrimination from the Defendant’s non-

         compliance with the ADA with respect to this property as described but not necessarily

         limited to the allegations in paragraph 12 of this complaint. Plaintiffs have reasonable

         grounds to believe that they will continue to be subjected to discrimination in violation of

         the ADA by the Defendant. EFREM WALKER desires to visit Oakland Point Shopping

         Center not only to avail himself of the goods and services available at the property but to

         assure himself that this property is in compliance with the ADA so that he and others

         similarly situated will have full and equal enjoyment of the property without fear of

         discrimination.

11.      The Defendant has discriminated against the individual Plaintiff and members of the

         corporate Plaintiff organization by denying them access to, and full and equal enjoyment

         of, the goods, services, facilities, privileges, advantages and/or accommodations of the

         buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.      The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

         in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

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      1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Oakland Point Shopping Center has

      shown that violations exist. These violations include, but are not limited to:

Parking

   A. Some of the accessible spaces do not provide signs designating the disabled use spaces,
      in violation of Section 4.6.4 of the ADAAG whose resolution is readily achievable.

   B. The disabled use spaces do not have clear and level access aisles provided, violating
      Sections 4.1.2, and 4.6.3 of the ADAAG whose resolution is readily achievable.

   C. The disabled use spaces and/or unloading areas are located on a slope in violation of
      Section 4.6.3 and 4.6.6 of the ADAAG whose resolution is readily achievable.

Entrance Access and Path of Travel

   A. There are interior doors of the building that exceed the maximum force of 5 lb to open in
      violation of Section 4.13.11 of the ADAAG whose resolution is readily achievable whose
      resolution is readily achievable.

   B. There are no proper handrails provided for the ramps to the facility, in violation of
      Section 4.8.5 of the ADAAG whose resolution is readily achievable.

   C. There are curb ramps at the facility that project into vehicular areas and/or contain
      excessive slopes, side slopes or cross slopes in violation of Sections 4.7.2, 4.7.5, 4.7.6,
      and 4.7.9 of the ADAAG whose resolution is readily achievable.

   D. There are changes in levels of greater than ½ inch, violating Section 4.3.8 of the ADAAG
      whose resolution is readily achievable.

   E. The clear width and/or maneuvering clearances at doors to the facility are less than the
      prescribed minimums, in violation of Sections 4.13.5 and 4.13.6 of the ADAAG whose
      resolution is readily achievable.

Access to Goods and Services

   A. There are permanently designated interior spaces without proper signage in violation of
      Section 4.1.2 and 4.30 of the ADAAG whose resolution is readily achievable.

   B. There are counters throughout the facility in excess of 36”, in violation of Section 7.2(1)
      of the ADAAG whose resolution is readily achievable.


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      C. There are restrooms for public use at the facility without the required disabled use
         elements, in violation of several Sections of the ADAAG whose resolution is readily
         achievable.

      D. There is fixed or built in seating provided at the facility that does not comply with the
         standards prescribed in Section 4.32 of the ADAAG whose resolution is readily
         achievable.

Restrooms

      A. There are exposed pipes in restrooms at the facility, violating of Section 4.19.4 of the
         ADAAG whose resolution is readily achievable.

      B. The clear floor space provided in the restroom violates the provisions of Sections 4.2.1,
         4.18.3 and 4.22 of the ADAAG whose resolution is readily achievable.

      C. There are urinals provided for public use that do not comply with the standards set forth
         in Section 4.18 of the ADAAG whose resolution is readily achievable.

      D. The water closets that are provided for public use at the facility violate the provisions of
         Section 4.16 of the ADAAG whose resolution is readily achievable.

      E. The mirrors provided for public use in the restroom are in violation of the requirements in
         Section 4.19 of the ADAAG whose resolution is readily achievable.

      F. There are dispensers provided for pubic use in the restroom, with controls outside the
         ranges prescribed in Section 4.27 of the ADAAG whose resolution is readily achievable.

      G. There is a changing area provided for public use that does not comply with the
         requirements of the ADAAG whose resolution is readily achievable.

      H. There are amenities provided for public use that do not comply with the requirements of
         the ADAAG whose resolution is readily achievable.

13.      The discriminatory violations described in paragraph 12 are not an exclusive list of the

         Defendant’s ADA violations. Plaintiffs require the inspection of the Defendant’s place of

         public accommodation in order to photograph and measure all of the discriminatory acts

         violating the ADA and all of the barriers to access. The individual Plaintiff, the members

         of the Plaintiff group, and all other individuals similarly situated, have been denied

         access to, and have been denied the benefits of services, programs and activities of the

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      Defendant’s buildings and its facilities, and have otherwise been discriminated against

      and damaged by the Defendant because of the Defendant’s ADA violations, as set forth

      above.   The individual Plaintiff, the members of the Plaintiff group and all others

      similarly situated will continue to suffer such discrimination, injury and damage without

      the immediate relief provided by the ADA as requested herein. In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

14.   Defendant has discriminated against the individual and corporate Plaintiffs by denying

      them access to full and equal enjoyment of the goods, services, facilities, privileges,

      advantages and/or accommodations of its place of public accommodation or commercial

      facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

      the Defendant continues to discriminate against the Plaintiff, and all those similarly

      situated by failing to make reasonable modifications in policies, practices or procedures,

      when such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities; and by failing

      to take such efforts that may be necessary to ensure that no individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

15.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Plaintiffs have retained the undersigned counsel and are entitled to recover attorney’s

      fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and

      28 CFR 36.505.

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16.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommodation

      that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant’s place of public accommodation since January 26,

      1992, then the Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant’s facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

17.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have

      been met by Plaintiffs or waived by the Defendant.

18.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendant to alter Oakland Point

      Shopping Center to make those facilities readily accessible and useable to the Plaintiffs

      and all other persons with disabilities as defined by the ADA; or by closing the facility

      until such time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

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               with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.      Injunctive relief against the Defendant including an order to make all readily

               achievable alterations to the facility; or to make such facility readily accessible to

               and usable by individuals with disabilities to the extent required by the ADA; and

               to require the Defendant to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such stops that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

       c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

               § 12205.

       d.      Such other relief as the Court deems just and proper, and/or is allowable under

               Title III of the Americans with Disabilities Act.



Counsel for Plaintiffs:

\s\ Owen B Dunn Jr -- dated: September 5, 2008

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